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PROB 12A
(7/93)

                                 United States District Court
                                                  for

                                       District of New Jersey
                          Report on Offender Under Supervision
Name of Offender: Justin Huntington                                                  Cr.: 19-00133-001
                                                                                    PACTS #: 5196503

Name of Sentencing Judicial Officer:    THE HONORABLE KATHARINE S. HA YDEN
                                        SENIOR UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 06/26/2019

Original Offense:   Count One: Possession of a Firearm by a Convicted Felon, 18 U.S.C. § 922(g)(1)
                    Count Two: Possession with Intent to Distribute Heroin, 21 U.S.C. § 841(a)(1)

Original Sentence: 41 months of imprisonment, 36 months of supervised release

Special Conditions: $200 Special Assessment, Substance Abuse Testing, Drug Treatment, Life Skills
Counseling, Education/Training Requirements, Mental Health Treatment, Support Dependents

Type of Supervision: Supervised Release                       Date Supervision Commenced:08/06/2021

                                 NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncomoliance


 1                   On September 22, 2021, Justin Huntington submitted a urine sample which
                     tested positive for marijuana. He admitted marijuana use and signed an
                     admission form.


U.S. Probation Officer Action:


Huntington has been referred for a substance abuse assessment at Oaks Integrated Care in Montclair, New
Jersey, which is scheduled for October 25, 2021. The probation office will continue to drug test him to
ensure compliance with the conditions of supervision.

                                                        Respectfully submitted,

                                                        SUSAN M.SMALLEY,Chief
                                                        U.S. Probation Officer


                                                        Dtmo/Ka/Her

                                                        By: DANA HAFNER
                                                              Senior U.S. Probation Officer


/dh
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                                                                                           Justin Huntington

  APPROVED:




                                            09/22/2021
  DONALD L. MARTENZ, JR.                       Date
  Supervising U.S. Probation Officer

  Please check a box below to indicate the Court's direction regarding action to be taken in this case:

^l^No Formal Court Action to be Taken at This Time(as recommended by the Probation Office)
 f Submit a Request for Modifying the Conditions or Term of Supervision
 P Submit a Request for Warrant or Summons
 r Other




                                                                   Signature of Judicial Officer




                                                                               Date
